IN THE UNITED STA'I`ES DISTR]C'I` COURT
F()R 'l`HE EASTERN DISTRiCT OF 'l`ENNF.SSEE
A'l` GREF.`NEVILLE
DANIEL M. 'I`RUF.. individually and,
as surviving spouse and next friend of
Teresa Fay True, deceased

Plaintiff,

STANDARD SECURITY LIFE
INSURANCE CONTPANY ()F NEW
Y()RK and HEALTI~I PLAN

)
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}
)
)
}
VS, ) NO. 2;07-CV- `i 79
)
)
)
)
ADM]N`ISTRATORS, INC. )

)

)

Del'endants.

AGREEI) ORDF.R STAYING PROCEEDINGS PENDING ARBITRATION

Upon motion ot` the defendants co Compel Arbitralion and to Stay Action Pending Al‘bitration
and or Motion to Dismiss and P|aintiff’s Response to same1 by agreement of the parties and for good
cause shown1 it is, accordingiy,

ORDERED, ADJUDGED and DECREED that the referenced cause is hereby referred to
binding arbitration pursuant to 9 U.S.C. §3 and this Court proceeding is stayed pending arbitration

between the parties

ENTER:
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J GE

 

Case 2:07-cv-00179 Document 17 Filed 01/17/08 Page 1 of 2 Page|D #: 17

APPROVED i~`OR ENTRY:

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Case 2:O7-cv-00179 Document 17 Filed 01/17/08 Page 2 of 2 Page|D #: 18

